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I hereby certify that this instrument is a true and correct copy of
the original on file in my office. Attest: Sandy Opacich, Clerk
U.S. District Court, Northern District of Ohio
By: /s/Robert Pitts
Deputy Clerk



                                                    UNITED STATES JUDICIAL PANEL
                                                                 on
                                                     MULTIDISTRICT LITIGATION


      IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                                            MDL No. 2804


                                                                      TRANSFER ORDER


             Before the Panel:* Plaintiffs in 24 actions move under Panel Rule 7.1 to vacate the orders
      conditionally transferring their respective actions listed on Schedule A to MDL No. 2804. Various
      defendants1 oppose the motions.

               After considering the arguments of counsel, we find these actions involve common questions of
      fact with the actions previously transferred to MDL No. 2804, and that transfer under 28 U.S.C. § 1407
      will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the
      litigation. Moreover, transfer is warranted for the reasons set forth in our order directing centralization.
      In that order, we held that the Northern District of Ohio was an appropriate Section 1407 forum for
      actions sharing factual questions regarding the allegedly improper marketing and distribution of various
      prescription opiate medications into states, cities, and towns across the country. See In re Nat’l
      Prescription Opiate Litig., 290 F. Supp.3d 1375, 1378-79 (J.P.M.L. 2017).

              Despite some variances among the actions before us, they share a factual core with the MDL
      actions: the manufacturer and distributor defendants’ alleged knowledge of and conduct regarding the
      diversion of these prescription opiates, as well as the manufacturers’ allegedly improper marketing of
      the drugs. See id. The actions therefore fall within the MDL’s ambit.



             *
            Judges Ellen Segal Huvelle and Nathaniel M. Gorton did not participate in the decision of this
        matter.
                 1
               Amerisource Drug Corp., Amerisourcebergen Corp. and Amerisourcebergen Drug Corp.;
        Bellco Drug Corp.; Cardinal Health, Inc., Cardinal Health 110, LLC, Cardinal Health 200, LLC,
        Cardinal Health 414, LLC; McKesson Corp. (distributor defendants); Allergan PLC, Allergan
        Finance, LLC; Actavis LLC, Actavis Pharma, Inc.; Barr Laboratories, Inc.; Cephalon, Inc.; Endo
        Health Solutions Inc., Endo International PLC, Endo Pharmaceuticals, Inc.; Janssen Pharmaceutica,
        Inc.; Janssen Pharmaceuticals Inc.; Johnson & Johnson; Mallinckrodt plc; Mallinckrodt LLC,
        Mallinckrodt Brand Pharmaceuticals, Inc.; Ortho-McNeil-Jansenn Pharmaceuticals, Inc.; Par
        Pharmaceutical, Inc., Par Pharmaceutical Companies, Inc.; Purdue Pharma L.P., Purdue Pharma,
        Inc., and The Purdue Frederick Company, Inc.; SpecGx LLC; Teva Pharmaceutical Industries Ltd.;.
        Teva Pharmaceuticals USA, Inc., Watson Pharmaceuticals and Watson Laboratories, Inc.
        (manufacturing defendants); Value Drug Co.
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                                                    -2-

        The parties opposing transfer in 24 actions argue principally that federal jurisdiction is lacking
over their cases. But opposition to transfer based on a jurisdictional challenge is insufficient to warrant
vacating conditional transfer orders covering otherwise factually related cases.2 Several parties also argue
that including their actions in this large MDL will cause them inconvenience and delay the progress of
their actions. Given the undisputed factual overlap with the MDL proceedings, transfer is justified in
order to facilitate the efficient conduct of the litigation as a whole. See In re Watson Fentanyl Patch
Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351-52 (J.P.M.L. 2012) (“[W]e look to the overall
convenience of the parties and witnesses, not just those of a single plaintiff or defendant in isolation.”).
Additionally, plaintiff in the District of New Jersey County of Burlington action argues that the recent
bankruptcy of the Purdue defendants prevents transfer, but we have long rejected that argument. See In
re Ephedra Prods. Liab. Litig., 416 F. Supp. 2d 1358, 1359-60 (J.P.M.L. 2006) (transferring actions
subject to bankruptcy stay).

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Northern District of Ohio and, with the consent of that court, assigned to the Honorable Dan A. Polster
for inclusion in the coordinated or consolidated pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                          Sarah S. Vance
                                                               Chair

                                       Lewis A. Kaplan                 R. David Proctor
                                       Catherine D. Perry              Karen K. Caldwell




    2
      See, e.g., In re Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347-48
 (J.P.M.L. 2001).
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IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                     MDL No. 2804


                                      SCHEDULE A

           District of Hawaii

     COUNTY OF KAUAI v. CVS HEALTH CORPORATION, ET AL.,
         C.A. No. 1:19!00377

           Eastern District of Michigan

     CHARTER TOWNSHIP OF HARRISON v. THE PAIN CENTER USA, PLLC, ET AL., C.A.
           No. 2:19!11681
     CITY OF STERLING HEIGHTS v. THE PAIN CENTER USA, PLLC, ET AL.,
           C.A. No. 2:19!11685
     CITY OF WARREN v. THE PAIN CENTER USA, PLLC, ET AL.,
           C.A. No. 2:19!11687

           Eastern District of Missouri

     WAMPANOAG TRIBE OF GAY HEAD (AQUINNAH) v. MALLINCKRODT BRAND
           PHARMACEUTICALS, INC., ET AL., C.A. No. 4:19!01654
     ST. FRANCOIS COUNTY v. DANNIE E. WILLIAMS, M.D., ET AL.,
           C.A. No. 4:19!01722
     THE CHEROKEE NATION v. MALLINCKRODT PLC, ET AL., C.A. No. 4:19!01911

           District of New Jersey

     COUNTY OF BURLINGTON v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 1:19!13684

           Eastern District of New York

     THE CITY OF AUBURN v. PURDUE PHARMA L.P., ET AL., C.A. No. 2:19!03800

           Northern District of New York

     THE CITY OF SARATOGA SPRINGS v. PURDUE PHARMA L.P., ET AL.,
          C.A. No. 1:19!00789
     THE CITY OF OGDENSBURG v. PURDUE PHARMA L.P., ET AL.,
          C.A. No. 8:19!00782

           Western District of New York

     THE CITY OF ROCHESTER v. PURDUE PHARMA L.P., ET AL.,
          C.A. No. 6:19!06490
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          Northern District of Oklahoma

    CITY OF JENKS v. PURDUE PHARMA L.P., ET AL., C.A. No. 4:19!00380

          Southern District of Texas

    ROCKWALL COUNTY, TX v. CVS HEALTH CORPORATION, C.A. No. 4:19!02181
    ELLIS COUNTY v. WALGREENS BOOTS ALLIANCE, INC., ET AL.,
          C.A. No. 4:19!02256
    COUNTY OF DUVAL v. CVS HEALTH CORPORATION, C.A. No. 4:19!02504

          Eastern District of Virginia

    LOUDOUN COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 1:19!00778
    CITY OF PORTSMOUTH v. MCKESSON CORPORATION, ET AL.,
          C.A. No. 2:19!00331
    CITY OF FREDERICKSBURG, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 3:19!00457
    PRINCE GEORGE COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 3:19!00458
    GREENSVILLE COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 3:19!00459
    CITY OF EMPORIA, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
          C.A. No. 3:19!00513

          Western District of Virginia

    CULPEPER COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 3:19!00037
    CHARLOTTE COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 4:19!00029
